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                 Exhibit A
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                              STANDARD INSURANCE COMPANY
                                       A Stock Life Insurance Company
                                             900 SW Fifth Avenue
                                        Portland, Oregon 97204-1282
                                               (503) 321-7000


                                   GROUP LIFE INSURANCE POLICY

     Policyholder:                                                                Emory Healthcare
     Policy Number:                                                                           647272-B
     Effective Date:                                                                    April 1, 2019


The consideration for this Group Policy is the application of the Policyholder and the payment by the
Policyholder of premiums as provided herein.
Subject to the Policyholder Provisions and the Incontestability Provisions, this Group Policy (a) is
issued for the Initial Rate Guarantee Period shown in the Coverage Features, and (b) may be renewed
for successive renewal periods by the payment of the premium set by us on each renewal date. The
length of each renewal period will be set by us , but will not be less than 12 months .
For purposes of effective dates and ending dates under this Group Policy, all days begin and end at
12:00 midnight Standard Time at the Policyholder's address.
This policy includes an Accelerated Benefit. Death benefits will be reduced if an Accelerated
Benefit is paid. The receipt of this benefit may be taxable and may affect your eligibility for
Medicaid or other government benefits or entitlements. However, if you meet the definition of
"terminally ill individual" according to the Internal Revenue Code Section 101, your
Accelerated Benefit may be non-taxable. You should consult your personal tax and/or legal
advisor before you apply for an Accelerated Benefit.
All provisions on this and the following pages are part of this Group Policy. "You" and "your" mean the
Member. "We", "us", and "our" mean Standard Insurance Company. Other defined terms appear with
their initial letters capitalized. Section headings, and references to them, appear in boldface type.

                                     STANDARD INSURANCE COMPANY
                                                    By




               Chairman, President and CEO
                                                                    ~   Corporate Secretary
GPl 90-LIFE/S399
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                                    COVERAGE FEATURES
This section contains many of the features of your group life insurance. Other provisions, including
exclusions and limitations, appear in other sections. Please refer to the text of each section for full
details. The Table of Contents and the Index of Defined Terms help locate sections and definitions.


                                GENERAL POLICY INFORMATION
Group Policy Number:                        64 7272-B
Type of Insurance Provided:
   Life Insurance:                          Yes
   Dependents Life Insurance:               Yes
   Accidental Death And Dismemberment
      (AD&D) Insurance:               Yes
Policyholder:                               Emory Healthcare
Employer(s):                                Emory Healthcare
                                            Emory John's Creek Hospital
                                            Saint Joseph's Hospital
                                            Wesley Senior Living
Group Policy Effective Date:                April 1, 2019
Policy Issued in:                           Georgia


                                      BECOMING INSURED
To become insured for Life Insurance you must: (a) Be a Member; (b) Complete your Eligibility Waiting
Period; and (c) Meet the requirements in Life Insurance and Active Work Provisions. The Active
Work Provisions will not apply on the Group Policy Effective Date to Members who are retired on that
date. The requirements for becoming insured for coverages other than Life Insurance are set out in the
text.
Definition of Member:                       You are a Member if you are:
                                            1. An active employee of the Employer; and
                                            2. Regularly working at least 20 hours each week.
                                            You are not a Member if you are:
                                            1. Any other temporary or seasonal employee.
                                            2. A leased employee.
                                            3. An independent contractor.
                                            4. A full time member of the armed forces of any country.
Class Definitions:
   Class 1:                                 Key Executives
   Class 2:                                 All other Executives
   Class 3:                                 Senior Leaders
   Class 4:                                 All other Members


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Eligibility Waiting Period:                 You are eligible on eligible on the date you become a
                                            Member, but not before January 22, 2012.
Evidence of Insurability:                   Required:
                                            a. For late application for Contributory insurance for you
                                               and your Spouse.
                                            b. For reinstatements if required.
                                            c.   For Members and Spouses eligible but not insured
                                                 under the Prior Plan.
                                            d. For any Plan 2 Life Insurance Benefit for a Class 4
                                               Member in excess of the Guarantee Issue Amount of
                                               $500,000.
                                            e.   For any Dependents Life Insurance Benefit in excess of
                                                 the Guarantee Issue Amount of $100,000.
                                            f.   For elective increases in Plan 2 Life Insurance Benefit
                                                 or Dependents Life Insurance for a Spouse.
                                            Note: Evidence Of Insurability is not required for a Child.
   Certain Evidence Of lnsurability Requirements Will Be Waived. Your insurance is subject to
   all other terms of the Group Policy.
        1. For a Member who was insured for additional life insurance under the Prior Plan on
           December 31, 2009:
           The Evidence Of Insurability requirement inf. above for elective increases will not apply to
           an increase up to the Guarantee Issue amount if you apply during the Annual Enrollment
           Period immediately preceding the Group Policy Effective Date. However, the Evidence Of
           Insurability requirement is not waived if you previously submitted evidence of good health
           that was not approved by the insurer(s) of the Prior Plan or any preceding plan.
       2. For a Spouse who was insured for life insurance under the Prior Plan on December 31,
          2009:
           The Evidence Of Insurability requirement inf. above for elective increases will not apply to
           an increase up to the Guarantee Issue amount if the Member applies during the Annual
           Enrollment Period immediately preceding the Group Policy Effective Date. However, the
           Evidence Of Insurability requirement is not waived if the Spouse previously submitted
           evidence of good health that was not approved by the insurer(s) of the Prior Plan or any
           preceding plan.
       3. The Evidence Of Insurability requirements in d. and e. above are waived on January 1,
          2010 for an amount in effect under the Prior Plan on December 31, 2009.
       4. For a Member who was insured for plan 2 (additional) life insurance and dependents life
          insurance for your Spouse under either group life insurance policy 647271-A or group life
          insurance policy 647271-B on the day before becoming a Member under the Group Policy:
           Evidence Of Insurability requirements d. and e. above are waived on the date you become a
           Member for amounts of Plan 2 Life Insurance for you and Dependents Life Insurance for
           your Spouse equal to the amounts of plan 2 life insurance and dependents life insurance in
           effect on the day before you become a Member under the Group Policy, if you apply on or
           before the date you become a Member.
   During Your Employer's Annual Enrollment Period


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  The Evidence Of Insurability requirement in f. above for elective increases will not apply to the
  following amounts for which you apply during an Annual Enrollment Period, regardless of whether
  they exceed the Guarantee Issue Amount.
  a. An increase of up to $20,000 of Plan 2 Life Insurance.
  b. An increase ofup to $10,000 of Dependents Life Insurance.
  Note: A Member on a Leave Of Absence may not apply for this elective increase in Plan 2 Life
  Insurance or Dependents Life Insurance for a Spouse (for which Evidence Of Insurability is waived)
  until the Annual Enrollment Period immediately following the Member's return to Active Work.
  On May 29, 2011 for Members employed by Emory John's Creek Hospital
     If you were eligible for or insured for additional life insurance under the Prior Plan on the day
     before May 29, 2011, certain Evidence Of Insurability requirements will be waived with respect
     to Life Insurance and Dependents Life Insurance. However, we will not waive the Evidence Of
     Insurability requirements if you or your Spouse previously submitted evidence of good health
     that was not approved by the insurer(s) of the Prior Plan or any preceding plans.
      1. If you were eligible but not insured for additional life insruance under the Prior Plan on the
         day before May 29, 2011, requirements a. and c. above will be waived if you apply for Plan
         2 Life Insurance up to the Guarantee Issue Amount within 31 days of May 29, 2011.
     2. If you were insured under the Prior Plan on the day before May 29, 2011 for an amount less
        than the Guarantee Issue Amount, requirement f. above will be waived if you apply for an
        increase in your Plan 2 Life Insurance up to the Guarantee Issue Amount within 31 days of
        May 29, 2011.
     3. If your Spouse was eligible but not insured for dependents life insurance under the Prior
        Plan on the day before May 29, 2011, requirements a. and c. above will be waived if you
        apply for Dependents Life Insurance for your Spouse up to the Guarantee Issue Amount
        within 31 days of May 29, 2011.
     4. If your Spouse was insured for an amount less than the Guarantee Issue Amount under
        the Prior Plan on the day before May 29, 2011, requirement f. above will be waived if you
        apply for an increase in Dependents Life Insurance for your Spouse up to the Guarantee
        Issue Amount within 31 days of May 29, 2011.
  On January 22, 2012 for Members employed by Saint Joseph's Hospital
     If you were eligible for or insured for additional life insurance under the Prior Plan on the day
     before January 22, 2012, certain Evidence Of Insurability requirements will be waived with
     respect to Life Insurance and Dependents Life Insurance. However, we will not waive the
     Evidence Of Insurability requirements if you or your Spouse previously submitted evidence of
     good health that was not approved by the insurer(s) of the Prior Plan or any preceding plans.
      1. If you were eligible but not insured for additional life insurance under the Prior Plan on the
         day before January 22, 2012, requirements a. and c. above will be waived if you apply for
         Plan 2 Life Insurance up to the Guarantee Issue Amount within 31 days of January 22,
         2012.
     2. If you were insured under the Prior Plan on the day before January 22, 2012 for an amount
        less than the Guarantee Issue Amount, requirement f. above will be waived if you apply for
        an increase in your Plan 2 Life Insurance up to the Guarantee Issue Amount within 31
        days of January 22, 2012.
     3. If your Spouse was eligible but not insured for dependents life insurance under the Prior
        Plan on the day before January 22, 2012, requirements a. and c. above will be waived if you
        apply for Dependents Life Insurance for your Spouse up to the Guarantee Issue Amount
        within 31 days of January 22, 2012.


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      4. If your Spouse was insured for an amount less than the Guarantee Issue Amount under
         the Prior Plan on the day before January 22, 2012, requirement f. above will be waived if
         you apply for an increase in Dependents Life Insurance for your Spouse up to the
         Guarantee Issue Amount within 31 days of January 22, 2012.
  During The Open Enrollment Period Of September 9, 2018 Through October 9, 2018
  Certain Evidence Of Insurability requirements will be waived for persons employed by DeKalb
  Regional Health System, Inc. who become Members and meet the Active Work requirement on
  September 9, 2018 with regard to Plan 2 (supplemental) Life Insurance and Dependents Life
  Insurance applied for during the Open Enrollment Period of September 9, 2018 through October 9,
  2018.
   1. If you were eligible but not insured for contributory life insurance under the group life
      insurance policy in effect for DeKalb Regional Health System, Inc. on September 8, 2018,
      requirements a. and c. above will be waived if you apply for an amount of Contributory Plan 2
      (supplemental) Life Insurance up to the Guarantee Issue Amount during the Open Enrollment
      Period of September 9, 2018 through October 9, 2018.
  2. If you were insured for contributory life insurance under the group life insurance policy in
     effect for DeKalb Regional Health System, Inc. on September 8, 2018 for an amount less than
     the Guarantee Issue Amount, requirement f. above will be waived if you apply for an increase
     in your Contributory Plan 2 (supplemental) Life Insurance up to the Guarantee Issue Amount
     during the Open Enrollment Period of September 9, 2018 through October 9, 2018.
  3. If you were insured for contributory life insurance under the group life insurance policy in
     effect for DeKalb Regional Health System, Inc. on September 8, 2018 for an amount greater
     than the Guarantee Issue Amount, requirement d. above will be waived if you apply for an
     amount of Contributory Plan 2 (supplemental) Life Insurance equal to the amount of your
     contributory life insurance in effect under the group life insurance policy in effect for DeKalb
     Regional Health System, Inc. on September 8, 2018 during the Open Enrollment Period of
     September 9, 2018 through October 9, 2018. If no such amount of Contributory Plan 2
     (supplemental) Life Insurance exists, requirements d. and f. above will be waived if you apply to
     increase the amount of your Contributory Plan 2 (supplemental) Life Insurance up to the next
     available increment during the Open Enrollment Period of September 9, 2018 through October
     9, 2018.
  4. If your Spouse was eligible but not insured for contributory dependents life insurance under
     the group life insurance policy in effect for DeKalb Regional Health System, Inc. on September
     8, 2018, requirements a. and c. above will be waived if you apply for an amount of Dependents
     Life Insurance for your Spouse up to the Guarantee Issue Amount during the Open Enrollment
     Period of September 9, 2018 through October 9, 2018.
  5. If your Spouse was insured for contributory dependents life insurance under the group life
     insurance policy for DeKalb Regional Health System, Inc. on September 8, 2018 for an amount
     less than the Guarantee Issue Amount, requirement f. above will be waived if you apply for an
     increase in Dependents Life Insurance for your Spouse up to the Guarantee Issue Amount
     during the Open Enrollment Period of September 9, 2018 through October 9, 2018.
  6. If your Spouse was insured for contributory dependents life insurance under the group life
     insurance policy in effect for DeKalb Regional Health System, Inc. on September 8, 2018 for an
     amount greater than the Guarantee Issue Amount, requirement e. above will be waived if you
     apply for an amount of Dependents Life Insurance equal to the amount of contributory
     dependents life insurance for your Spouse in effect under the group life insurance policy in
     effect for DeKalb Regional Health System, Inc. on September 8, 2018 during the Open
     Enrollment Period of September 9, 2018 through October 9, 2018. If no such amount of
     Dependents Life Insurance exists, requirements e. and f. above will be waived if you apply to
     increase the amount of Dependents Life Insurance for your Spouse up to the next available
     increment during the Open Enrollment Period of September 9, 2018 through October 9, 2018.


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   Amounts of Contributory Plan 2 (supplemental) Life Insurance and Dependents Life Insurance for
   your Spouse applied for during the Open Enrollment Period of September 9, 2018 through October
   9, 2018, and for which Evidence Of Insurability is waived, will become effective on the date you
   apply.
   During The First 31 Days Following Your Return To Active Work
   Certain Evidence Of Insurability requirements will be waived for persons employed by DeKalb
   Regional Health System, Inc. who become Members but are not Actively At Work on September 9,
   2018, and who were insured under the group life insurance policy in effect for DeKalb Regional
   Health System, Inc. on September 8, 2018, with regard to Plan 2 (supplemental) Life Insurance
   and Dependents Life Insurance applied for within 31 days following the date you return to Active
   Work.
   1. If you were insured for contributory life insurance under the group life insurance policy in
      effect for DeKalb Regional Health System, Inc. on September 8, 2018 for an amount less than
      the Guarantee Issue Amount, requirement f. above will be waived if you apply for an increase
      in your Contributory Plan 2 (supplemental) Life Insurance up to the Guarantee Issue Amount
      within 31 days following the date you return to Active Work.
   2. If you were insured for contributory life insurance under the group life insurance policy in
      effect for DeKalb Regional Health System, Inc. on September 8, 2018 for an amount greater
      than the Guarantee Issue Amount, requirement d. above will be waived if you apply for an
      amount of Contributory Plan 2 (supplemental) Life Insurance equal to the amount of your
      contributory life insurance in effect under the group life insurance policy in effect for DeKalb
      Regional Health System, Inc. on September 8, 2018 within 31 days following the date you
      return to Active Work. If no such amount of Contributory Plan 2 (supplemental) Life Insurance
      exists, requirements d. and f. above will be waived if you apply to increase the amount of your
      Contributory Plan 2 (supplemental) Life Insurance up to the next available increment within 31
      days following the date you return to Active Work.
   3. If your Spouse was insured for contributory dependents life insurance under the group life
      insurance policy for DeKalb Regional Health System, Inc. on September 8, 2018 for an amount
      less than the Guarantee Issue Amount, requirement f. above will be waived if you apply for an
      increase in Dependents Life Insurance for your Spouse up to the Guarantee Issue Amount
      within 31 days following the date you return to Active Work.
   4. If your Spouse was insured for contributory dependents life insurance under the group life
      insurance policy in effect for DeKalb Regional Health System, Inc. on September 8, 2018 for an
      amount greater than the Guarantee Issue Amount, requirement e. above will be waived if you
      apply for an amount of Dependents Life Insurance equal to the amount of contributory
      dependents life insurance for your Spouse in effect under the group life insurance policy in
      effect for DeKalb Regional Health System, Inc. on September 8, 2018 within 31 days following
      the date you return to Active Work. If no such amount of Dependents Life Insurance exists,
      requirements e. and f. above will be waived if you apply to increase the amount of Dependents
      Life Insurance for your Spouse up to the next available increment within 31 days following the
      date you return to Active Work.
   Amounts of Contributory Plan 2 (supplemental) Life Insurance and Dependents Life Insurance for
   your Spouse applied for within 31 days following the date you return to Active Work, and for which
   Evidence Of Insurability is waived, will become effective on the later of (a) the date you return to
   Active Work, and (b) the date you apply.


                                 PREMIUM CONTRIBUTIONS
Life Insurance:
   Plan 1:                                 Noncontributory


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   Plan 2:
       Option A for Classes 1, 2 and 3:   Noncontributory
       All other Plan 2 Life Insurance:   Contributory
AD&D Insurance:
   Plan 1:                                Noncontributory
   Plan 2:                                Contributory
Dependents Life Insurance:                Contributory
AD&D Insurance for Dependents:            Contributory


                                   SCHEDULE OF INSURANCE
SCHEDULE OF LIFE INSURANCE
For you:
Life Insurance Benefit:
       You will become insured under Plan 1 if you meet the requirements to become insured under
       the Group Policy.
       If you are insured under Plan 1, you may also become insured under Plan 2 if you meet the
       requirements to become insured under Plan 2 Life Insurance under the Group Policy. Plan 2 is
       a Contributory plan requiring premium contributions from Members.
       Plan 1 (basic):                    1 times your Annual Earnings rounded to the next higher
                                          multiple of $1,000 if not already a multiple of
                                          $1,000. The maximum amount is $50,000.
       Plan 2 (supplemental):
        - Classes 1, 2, and 3:            You may be insured under Option A or Option B, or both,
                                          as follows:
                                             Class 1:
                                                Option A:    $950,000
                                                 Option B: You may apply for Life Insurance in
                                                 multiples of $10,000, from $10,000 to $50,000.
                                             Class 2:
                                                Option A:    $450,000
                                                 Option B: You may apply for Life Insurance in
                                                 multiples of $10,000, from $10,000 to $300,000.
                                             Class 3:
                                                Option A:    $200,000
                                                 Option B: You may apply for Life Insurance in
                                                 multiples of $10,000, from $10,000 to $550,000.




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       - Class 4:                    You may apply for Life Insurance in multiples of $10,000,
                                     from $10,000 to $750,000.
   The Repatriation Benefit:         The expenses incurred to transport your body to a
                                     mortuary near your primary place of residence, but not to
                                     exceed $5,000 or 10% of the Life Insurance Benefit,
                                     whichever is less.
Dependents Life Insurance Benefit:
   For your Spouse:                  You may apply for Dependents Life Insurance in multiples
                                     of $10,000, from $10,000 to $500,000.
   For your Child:                   You may apply for Dependents Life Insurance in multiples
                                     of $2,000, from $2,000 to $10,000.
   SCHEDULE OF AD&D INSURANCE
   For you:
       AD&D Insurance Benefit:
       Classes 1 and 2:
           Plan 1 (basic):           $500,000
           Plan 2 (voluntary):       You may apply for AD&D Insurance in multiples of
                                     $10,000, from $10,000 to $250,000.
       Class 3:
           Plan 1 (basic):           $250,000
           Plan 2 (voluntary):       You may apply for AD&D Insurance in multiples of
                                     $10,000, from $10,000 to $250,000.
       Class 4:
           Plan 1 (basic):           None
           Plan 2 (voluntary):       You may apply for AD&D Insurance in multiples of
                                     $10,000, from $10,000 to $250,000.
   For your Spouse:
       AD&D Insurance
       Benefit (voluntary):          You may apply for AD&D Insurance in multiples of
                                     $10,000, from $10,000 to $250,000.
   For your Child:
       AD&D Insurance
       Benefit (voluntary):          You may apply for AD&D Insurance in multiples of
                                     $5,000, from $5,000 to $15,000.
   Seat Belt Benefit:                The amount of the Seat Belt Benefit is the lesser of
                                     (1) $10,000; or (2) the amount of AD&D Insurance Benefit
                                     payable for Loss of your life.
   Air Bag Benefit:                  The amount of the Air Bag Benefit is the lesser of
                                     (1) $5,000; or (2) the amount of AD&D Insurance Benefit
                                     payable for Loss of your life.




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  Career Adjustment Benefit:                The tuition expenses for training incurred by your Spouse
                                            within 36 months after the date of your death, exclusive of
                                            board and room, books, fees, supplies and other expenses,
                                            but not to exceed $5,000 per year, or the cumulative total
                                            of $10,000 or 25% of the AD&D Insurance Benefit,
                                            whichever is less.
  Child Care Benefit:                       The total child care expense incurred by your Spouse
                                            within 36 months after the date of your death for all
                                            Children under age 13, but not to exceed $5,000 per year,
                                            or the cumulative total of $10,000 or 25% of the AD&D
                                            Insurance Benefit, whichever is less.
  Higher Education Benefit:                 The tuition expenses incurred per Child at an accredited
                                            institution of higher education within 4 years after the
                                            date of your death, exclusive of board and room, books,
                                            fees, supplies and other expenses, but not to exceed
                                            $5,000 per year, or the cumulative total of $20,000 or
                                            25% of the AD&D Insurance Benefit, whichever is less.
  Occupational Assault Benefit:             The lesser of (1) $25,000; or (2) 50% of the amount of the
                                            AD&D Insurance Benefit otherwise payable for the Loss.
  Public Transportation Benefit:            The lesser of (1) $200,000; or (2) 100% of the amount of
                                            the AD&D Insurance Benefit otherwise payable for the
                                            Loss of your life.
  Occupational Disease Benefit:             The lesser of (1) $200,000; or (2) 20% of the AD&D
                                            Insurance Benefit.
AD&D TABLE OF LOSSES
  The amount payable is a percentage of the AD&D Insurance Benefit in effect on the date of the
  accident and is determined by the Loss suffered as shown in the following table:
   Loss:                           Percentage Payable:
   a.   Life                                 100%

   b.   One hand or one foot                  50%

   c.   Sight in one eye, speech, or          50%
        hearing in both ears

   d.   Two or more of the Losses listed     100%
        in b. and c. above

   e.   Thumb and index finger of the        25%*
        same hand
   f.   Coma                                2% per month of the remainder of the AD&D
                                            Insurance Benefit payable for Loss of life after
                                            reduction by any AD&D Insurance Benefit paid for
                                            any other Loss as a result of the same accident.
                                            Payments for coma will not exceed a maximum of
                                            $24,000 or 12 months.

   g.   Quadriplegia                         100%

   h.   Hemiplegia                            50%


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    i.   Paraplegia                            50%

   j.    Triplegia                           75%**
    k.   Uniplegia                           25%**
   No more than 100% of your AD&D Insurance will be paid for all Losses resulting from one
   accident.
   * No AD&D Insurance Benefit will be paid for Loss of thumb and index finger of the same
   hand if an AD&D Insurance Benefit is payable for the Loss of that entire hand.
   ** No AD&D Insurance Benefit will be paid for loss of function of a hand or foot if an AD&D
   Insurance Benefit is payable for Quadriplegia, Hemiplegia, Uniplegia, Triplegia or Paraplegia
   involving that same hand or foot.


                                 REDUCTIONS IN INSURANCE
Your Plan 1 Life Insurance is not subject to reductions due to age.
When you or your Spouse reaches an age shown below, the amount of Plan 2 Life Insurance, AD&D
Insurance, AD&D Insurance for your Spouse, and Dependents Life Insurance for your Spouse will be
the amount determined from the Schedule Of Insurance, multiplied by the appropriate percentage
below:
         Age                                Percentage
   70 through 74                            65%
   75 or over                               50%



                                        OTHER BENEFITS
Waiver Of Premium:                          Yes
Accelerated Benefit:                        Yes


                                       OTHER PROVISIONS
Limits on Right To Convert if
Group Policy terminates
or is amended:
   Minimum Time Insured:                    5 years
   Maximum Conversion Amount:               $2,000
Suicide Exclusion:                          Applies to:
                                            a. Plan 2 Life Insurance
                                            b. AD&D Insurance




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The maximum Leave Of Absence Periods are as follows:
    1. If you are on a Leave Of Absence due to a sabbatical or other leave and receive at least one-
       quarter of the Annual Earnings paid to you immediately before the start of such leave, your Life
       Insurance may be continued to the end of 24 months, or, if earlier, the end of such leave.
    2. If you are on a Leave Of Absence due to a family or medical leave and continuation of
       insurance is required by a state-mandated family or medical leave act or law, your insurance
       may be continued past the period required by the state act or law as follows:
        Life Insurance:
            For a medical Leave Of Absence: To the earlier of the end of 12 months, the date you reach
            age 65, or the period approved by your Employer.
            For a non-medical Leave Of Absence: To the earlier of the end of 24 months, or the period
            approved by your Employer.
       AD&D Insurance:
           To the end of the Life Insurance Leave Of Absence period (12 or 24 months).
   3. If you are on any other Leave Of Absence, your Life Insurance may be continued to the end of
      24 months, or if earlier, the period approved by your Employer.
   Leave Of Absence means a period when you are absent from Active Work during which your Life
   Insurance under the Group Policy will continue and employment will be deemed to continue, solely
   for the purposes of determining when your Life Insurance ends, provided the required premiums
   for you are remitted and such a leave of absence for you is approved by your Employer and set
   forth in a written document that is dated on or before the leave is to start and shows that you are
   scheduled to return to Active Work.
   During a Leave Of Absence your Life Insurance will be based on the amount that was in effect on
   your last day of Active Work immediately before the start of your Leave Of Absence.
Continuity Of Coverage:                     Yes
Portability Of Insurance:
Insurance Eligible for Portability:
   Life Insurance                           Yes. The maximum amount of Life Insurance you may
                                            continue is the lesser of: (1) the amount in effect on the
                                            date your employment terminates; or (2) $500,000. The
                                            minimum amount of Life Insurance you may continue is
                                            $10,000.
    Dependents Life
    Insurance for your Spouse               Yes. The maximum amount of Dependents Life Insurance
                                            you may continue is the lesser of: (1) the amount in effect
                                            on the date your employment terminates; or (2) $100,000.
                                            The minimum amount of Dependents Life Insurance you
                                            may continue is $5,000.
    Dependents Life
    Insurance for each Child                Yes. The maximum amount of Dependents Life Insurance
                                            you may continue is the lesser of: (1) the amount in effect
                                            on the date your employment terminates; or (2) $5,000.
                                            The minimum amount of Dependents Life Insurance you
                                            may continue is $1,000.
Portability Premium                         Age graded rates per multiple of $1,000 per month
Member and Spouse

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   Age of Insured
   On Last January 1                         Rate
      Under 25                               $0.059
      25 through 29                           0.071
      30 through 34                           0.095
      35 through 39                           0.107
      40 through 44                           0.119
      45 through 49                           0.178
      50 through 54                           0.274
      55 through 59                           0.512
      60 through 64                           0.785
      65 through 69                           1.511
      70 and above                            2.451
   Child:                                    $0.24 monthly per multiple of $1,000 per month
Annual Earnings based on:                    Earnings in effect on your last full day of Active Work.


                            PREMIUM RATES AND RENEWALS
Premium Rates:
   Life Insurance:
            Plan 1:                          $0.110 monthly per $1,000 of Life Insurance
            Plan 2:
      Age of Member on                       Monthly Rate Per
      Last January 1                         Multiple of $1,000
      Under 25                                  $      0.053
      25 through 29                                    0.063
      30 through 34                                    0.084
      35 through 39                                    0.095
      40 through 44                                    0.105
      45 through 49                                    0.156
      50 through 54                                    0.241
      55 through 59                                    0.499
      60 through 64                                    0.682
      65 through 69                                    1.328
      70 or over                                       2.154
   Dependents Life Insurance for a Spouse:
      Age of Spouse on                       Monthly Rate Per
      Last January 1                         Multiple of $1,000
      Under 25                                  $      0.053
      25 through 29                                    0.063
      30 through 34                                    0.084
      35 through 39                                    0.095
      40 through 44                                    0.105
      45 through 49                                    0.156
      50 through 54                                    0.241
      55 through 59                                    0.499
      60 through 64                                    0.682


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       65 through 69                            1.328
       70 or over                               2.154
   Dependents Life Insurance for a Child: $0.210 monthly per $1,000 of Dependents Life Insurance,
                                          regardless of the number of Children, for each Member
                                          electing Dependents Life Insurance for a Child
   AD&D Insurance:
           Plan 1:                       $0.017 monthly per $1,000 of AD&D Insurance
           Plan 2:                       $0.017 monthly per $1,000 of AD&D Insurance
   AD&D Insurance for a Spouse:          $0.017 monthly per $1,000 of AD&D Insurance
   AD&D Insurance for a Child:           $0.017 monthly per $1,000 of           AD&D   Insurance,
                                         regardless of the number of Children
Premium Due Dates:                       April 1, 2019 and the first day of each calendar month
                                         thereafter.
Grace Period:                            60 days
Initial Rate Guarantee Period:           April 1, 2019 to January 1, 2020
Notice of Rate Change:                   120 days
Minimum Participation:
   Life Insurance:
       Number:                           10 insured Members
       Percentage:
           Plan 1:                       100% of eligible Members
           Plan 2:
                Option A:                100% of eligible Members
                All other Plan 2 Life
                Insurance:               25% of eligible Members




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                                           LIFE INSURANCE
A.   Insuring Clause
     If you die while insured for Life Insurance, we will pay benefits according to the terms of the Group
     Policy after we receive Proof Of Loss satisfactory to us.
B.   Amount Of Life Insurance
     See the Coverage Features for the Life Insurance schedule.
C.   Changes In Life Insurance
     1. Increases
        You must apply in writing for any elective increase in your Life Insurance.
        Subject to the Active Work Provisions, an increase in your Life Insurance becomes effective as
        follows:
        a. Increases Subject To Evidence Of Insurability
            An increase in your Life Insurance subject to Evidence Of Insurability becomes effective on
            the later of i) the date we approve your Evidence Of Insurability, and ii) the beginning of the
            next plan year following the date you apply, if you apply during an Annual Enrollment
            Period.
        b. Increases Not Subject To Evidence Of Insurability
            An increase in your Life Insurance not subject to Evidence Of Insurability becomes effective
            on:
            (i) The first day of the calendar month coinciding with or next following the date you apply
                for an elective increase or the date of change in your classification, age or Annual
                Earnings.
            (ii) The beginning of the next plan year following the date you apply, if you apply during an
                 Annual Enrollment Period.
     2. Decreases
        A decrease in your Life Insurance because of a change in your classification, age or Annual
        Earnings becomes effective on the beginning of the next plan year coinciding with or next
        following the date of the change.
        Any other decrease in your Life Insurance becomes effective on the first day of the calendar
        month coinciding with or next following the date the Policyholder or your Employer receives
        your written request for the decrease.
D.   Repatriation Benefit
     The amount of the Repatriation Benefit is shown in the Coverage Features.
     We will pay a Repatriation Benefit if all of the following requirements are met.
     1. A Life Insurance Benefit is payable because of your death.
     2. You die more than 200 miles from your primary place of residence.
     3. Expenses are incurred to transport your body to a mortuary near your primary place of
        residence.



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E.   Suicide Exclusion: Life Insurance
     The Coverage Features states which Life Insurance plan is subject to this suicide exclusion.
     If your death results from suicide or other intentionally self-inflicted Injury, while sane or insane, 1
     and 2 below apply.
     1. The amount payable will exclude the amount of your Life Insurance which is subject to this
        suicide exclusion and which has not been continuously in effect for at least 2 years on the date
        of your death. In computing the 2-year period, we will include time you were insured under the
        Prior Plan.
     2. We will refund all premiums paid for that portion of your Life Insurance which is excluded from
        payment under this suicide exclusion.
F. When Life Insurance Becomes Effective
     The Coverage Features states whether your Life Insurance is Contributory or Noncontributory.
     Subject to the Active Work Provisions, your Life Insurance becomes effective as follows:
     1. Life Insurance subject to Evidence Of Insurability
        Life Insurance subject to Evidence Of Insurability becomes effective on the later of i) the date
        we approve your Evidence Of Insurability, and ii) the beginning of the next plan year following
        the date you apply, if you apply during an Annual Enrollment Period.
     2. Life Insurance not subject to Evidence Of Insurability
        a.   Noncontributory Life Insurance
             Noncontributory Life Insurance not subject to Evidence Of Insurability becomes effective on
             the date you become eligible.
        b. Contributory Life Insurance
             You must apply in writing for Contributory Life Insurance and agree to pay premiums.
             Contributory Life Insurance not subject to Evidence Of Insurability becomes effective on:
             (i) The date you become eligible if you apply on or before that date.
             (ii) The date you apply if you apply within 31 days after you become eligible.
             (iii) The beginning of the next plan year following the date you apply, if you apply during the
                   Annual Enrollment Period.
     Late application: Evidence Of Insurability is required if you apply more than 31 days after you
     become eligible.
     3. Takeover Provision
        a. If you were insured under the Prior Plan on the day before the effective date of your
           Employer's coverage under the Group Policy, your Eligibility Waiting Period is waived on the
           effective date of your Employer's coverage under the Group Policy.
        b. You must submit satisfactory Evidence Of Insurability to become insured for Life Insurance
           if you were eligible under the Prior Plan for more than 31 days but were not insured.
G.   When Life Insurance Ends
     Life Insurance ends automatically on the earliest of:
     1. The date the last period ends for which a premium was paid for your Life Insurance.
     2. The date the Group Policy terminates.



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     3. The last day of the calendar month in which your employment terminates, unless you are
        eligible for benefits as a retired Member.
     4. The last day of the calendar month in which you cease to be a Member. However, if you cease
        to be a Member because you are working less than the required minimum number of hours,
        your Life Insurance will be continued with premium payment during the following periods,
        unless it ends under 1 through 3 above.
        a. While your Employer is paying you at least the same Annual Earnings paid to you
           immediately before you ceased to be a Member.
        b. While your ability to work is limited because of Sickness, Injury, or Pregnancy.
        c.   During the first 60 days of:
             (1) A temporary layoff; or
             (2) A strike, lockout, or other general work stoppage caused by a labor dispute between
                 your collective bargaining unit and your Employer.
        d. During a leave of absence if continuation of your insurance under the Group Policy is
           required by a state-mandated family or medical leave act or law.
        e.   During any other scheduled leave of absence approved by your Employer in advance and in
             writing and lasting not more than the period shown in the Coverage Features.
        f.   During the period you are absent from Active Work due to a regularly scheduled school
             break or vacation.
H.   Reinstatement Of Life Insurance
     If your Life Insurance ends, you may become insured again as a new Member. However, 1 through
     4 below will apply.
     1. If your Life Insurance ends because you cease to be a Member, and if you become a Member
        again within 90 days, the Eligibility Waiting Period will be waived.
     2. If your Life Insurance ends because you fail to make a required premium contribution, you
        must provide Evidence Of Insurability to become insured again.
     3. If you exercised your Right To Convert, you must provide Evidence Of Insurability to become
        insured again.
     4. If your Life Insurance ends because you are on a federal or state-mandated family or medical
        leave of absence, and you become a Member again immediately following the period allowed,
        your insurance will be reinstated pursuant to the federal or state-mandated family or medical
        leave act or law.
                                                                   (REPAT_SUIC PART_ANNUAL ENROL)   LI.LF.OT.3X


                                 DEPENDENTS LIFE INSURANCE
A.   Insuring Clause
     If your Dependent dies while insured for Dependents Life Insurance, we will pay benefits according
     to the terms of the Group Policy after we receive Proof Of Loss satisfactory to us.
B.   Amount Of Dependents Life Insurance
     See the Coverage Features for the amount of your Dependents Life Insurance.




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C.   Changes In Dependents Life Insurance
     1. Increases
        You must apply in writing for any elective increase in your Dependents Life Insurance.
        Subject to the Active Work Provisions, an increase in your Dependents Life Insurance
        becomes effective as follows:
        a. Increases Subject To Evidence Of Insurability
            An increase in your Dependents Life Insurance subject to Evidence Of Insurability becomes
            effective on the later of i) the date we approve that Dependent's Evidence Of Insurability,
            and ii) the beginning of the next plan year following the date you apply, if you apply during
            an Annual Enrollment Period.
        b. Increases Not Subject To Evidence Of Insurability
            An increase in your Dependents Life Insurance not subject to Evidence Of Insurability
            becomes effective on:
            (i) The first day of the calendar month coinciding with or next following the date you apply
                if you apply for an elective increase.
            (ii) The date your Life Insurance increases if your Dependents Life Insurance increases
                 because of an increase in your Life Insurance.
            (iii) The beginning of the next plan year following the date you apply, if you apply during an
                  Annual Enrollment Period.
     2. Decreases
        A decrease in your Dependents Life Insurance because of a decrease in your Life Insurance
        becomes effective on the date your Life Insurance decreases.
D.   Definitions For Dependents Life Insurance
     Dependent means your Spouse or Child. Dependent does not include a person who is a full-time
     member of the armed forces of any country.
E.   Becoming Insured For Dependents Life Insurance
     1. Eligibility
        You become eligible to insure your Dependents on the later of:
        a. The date you become eligible for Life Insurance; and
        b. The date you first acquire a Dependent.
        A Member may not be insured as both a Member and a Dependent. A Child may not be insured
        by more than one Member.
     2. Effective Date
        The Coverage Features states whether Dependents Life Insurance is Contributory or
        Noncontributory. Subject to the Active Work Provisions, your Dependents Life Insurance
        becomes effective as follows:
        a. Dependents Life Insurance Subject To Evidence Of Insurability
            Dependents Life Insurance subject to Evidence Of Insurability becomes effective on the
            later of:
             1. The date your Life Insurance becomes effective; and



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          2. The first day of the calendar month coinciding with or next following the date we
             approve the Dependent's Evidence Of Insurability.
      b. Dependents Life Insurance Not Subject To Evidence Of Insurability
          1. Noncontributory Dependents Life Insurance
              Noncontributory Dependents Life Insurance not subject to Evidence Of Insurability
              becomes effective on the later of:
              i.   The date your Life Insurance becomes effective; and
              ii. The date you first acquire a Dependent.
          2. Contributory Dependents Life Insurance
              You must apply in writing for Contributory Dependents Life Insurance and agree to pay
              premiums. Contributory Dependents Life Insurance not subject to Evidence Of
              Insurability becomes effective on the latest of:
              i.   The date your Life Insurance becomes effective if you apply on or before that date;
              ii. The date you become eligible to insure your Dependents if you apply on or before
                  that date;
              iii. The date you apply if you apply within 31 days after you become eligible; and
              iv. The beginning of the next plan year following the date you apply, if you apply during
                  the Annual Enrollment Period.
          Late Application: Evidence Of Insurability is required for your Spouse if you apply more
          than 31 days after you become eligible.
      c. Takeover Provision
          Each Dependent who was eligible under the Prior Plan for more than 31 days but was not
          insured must submit satisfactory Evidence Of Insurability to become insured for
          Dependents Life Insurance.
F. When Dependents Life Insurance Ends
   Dependents Life Insurance ends automatically on the earliest of:
   1. Five months after you die (no premiums will be charged for your Dependents Life Insurance
      during this time);
   2. The date your Life Insurance ends;
   3. The date the Group Policy terminates, or the date Dependents Life Insurance terminates under
      the Group Policy;
   4. The date the last period ends for which you made a premium contribution, if your Dependents
      Life Insurance is Contributory;
   5. Effective prior to January 1, 2018: For your Spouse, the date of your divorce or termination of
      your Domestic Partner relationship;
      Effective January 1, 2018: For your Spouse, the date of your divorce;
   6. For any Dependent, the date the Dependent ceases to be a Dependent; and
   7. For a Child who is Disabled, 90 days after we mail you a request for proof of Disability, if proof
      is not given.
                                                                 (SP & CH__ SUIC ALL__ANNUAL ENROL)   LI.DL.OT.4X




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                ACCIDENTAL DEATH AND DISMEMBERMENT INSURANCE
A.   Insuring Clause
     If you or your Dependent have an accident, including accidental exposure to adverse conditions,
     while insured for AD&D Insurance, and the accident results in a Loss, we will pay benefits
     according to the terms of the Group Policy after we receive Proof Of Loss satisfactory to us.
B.   Definition Of Loss For AD&D Insurance
     Loss means loss of life, hand, foot, sight, speech, hearing in both ears, thumb and index finger of
     the same hand, coma, and Quadriplegia, Hemiplegia, Uniplegia, Triplegia or Paraplegia which
     meets all of the following requirements:
     1. Is caused solely and directly by an accident.
     2. Occurs independently of all other causes.
     3. With respect to Loss of life, is evidenced by a certified copy of the death certificate.
     4. With respect to all other Losses, occurs within 365 days after the accident and is certified by a
        Physician in the appropriate specialty as determined by us.
     With respect to Loss of life, death will be presumed if you disappear and the disappearance:
     1. Is caused solely and directly by an accident that reasonably could have caused Loss of life;
     2. Occurs independently of all other causes; and
     3. Continues for a period of 365 days after the date of the accident, despite reasonable search
        efforts.
     With respect to a hand or foot, Loss means actual and permanent severance from the body at or
     above the wrist or ankle joint, whether or not surgically reattached.
     With respect to sight, Loss means entire, uncorrectable, and irrecoverable loss of sight.
     With respect to speech, Loss means entire, uncorrectable, and irrecoverable loss of audible speech.
     With respect to hearing, Loss means entire, uncorrectable, and irrecoverable loss of hearing in
     both ears.
     With respect to thumb and index finger of the same hand, Loss means actual and permanent
     severance from the body at or above the metacarpophalangeal joints.
     With respect to coma, Loss means a profound state of mental unconsciousness with no evidence of
     appropriate responses to stimulation, lasting for at least 30 consecutive days.
     With respect to Quadriplegia, Hemiplegia, Uniplegia, Triplegia and Paraplegia, Loss must be
     permanent, complete, and irreversible.
     Quadriplegia means total paralysis of both upper and lower limbs. Hemiplegia means total
     paralysis of the upper and lower limbs on the same side of the body. Paraplegia means total
     paralysis of both lower limbs. Uniplegia means the complete and irreversible paralysis of one limb.
     Triplegia means the complete and irreversible paralysis of three limbs.
C.   Amount Payable
     See Coverage Features for the AD&D Insurance schedule. The amount payable is a percentage of
     the AD&D Insurance Benefit in effect on the date of the accident and is determined by the Loss
     suffered. See AD&D Table Of Losses in the Coverage Features.



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D.   Changes In AD&D Insurance
     You must apply in writing for an elective change in your AD&D Insurance. A change in your
     AD&D Insurance will become effective on the beginning of the next plan year following the date you
     apply.
E.   AD&D Insurance Exclusions
     No AD&D Insurance benefit is payable if the accident or Loss is caused or contributed to by any of
     the following:
     1. War or act of War. War means declared or undeclared war, whether civil or international, and
        any substantial armed conflict between organized forces of a military nature.
     2. Suicide or other intentionally self-inflicted Injury, while sane or insane.
     3. Committing or attempting to commit an assault or felony, or actively participating in a violent
        disorder or riot. Actively participating does not include being at the scene of a violent disorder
        or riot while performing your official duties.
     4. The voluntary use or consumption of any poison, chemical compound, alcohol or drug, unless
        used or consumed according to the directions of a Physician.
     5. Sickness or Pregnancy existing at the time of the accident.
     6. Heart attack or stroke.
     7. Boarding, leaving, or being in or on any kind of aircraft. However, this exclusion will not apply
        if the person who suffers the Loss is a fare paying passenger on a commercial aircraft.
     8. Medical or surgical treatment for any of the above.
F.   Additional AD&D Benefits
     Seat Belt Benefit
        The amount of the Seat Belt Benefit is shown in the Coverage Features.
        We will pay a Seat Belt Benefit if all of the following requirements are met:
         1. You or your Dependent die as a result of an Automobile accident for which an AD&D
            Insurance Benefit is payable for Loss of your Life; and
        2. You or your Dependent are wearing and properly utilizing a Seat Belt System at the time of
           the accident, as evidenced by a police accident report.
        Seat Belt System means a properly installed combination lap and shoulder restraint system
        that meets the Federal Vehicle Safety Standards of the National Highway Traffic Safety
        Administration. Seat Belt System will include a lap belt alone, but only if the Automobile did
        not have a combination lap and shoulder restraint system when manufactured. Seat Belt
        System does not include a shoulder restraint alone.
        Automobile means a motor vehicle licensed for use on public highways.
     Air Bag Benefit
        The amount of the Air Bag Benefit is shown in the Coverage Features.
        We will pay an Air Bag Benefit if all of the following requirements are met:
         1. You or your Dependent die as a result of an Automobile accident for which a Seat Belt
            Benefit is payable for Loss of your life.




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     2. The Automobile is equipped with an Air Bag System that was installed as original
        equipment by the Automobile manufacturer and has received regular maintenance or
        scheduled replacement as recommended by the Automobile or Air Bag manufacturer.
     3. You or your Dependent are seated in the driver's or a passenger's seating position intended
        to be protected by the Air Bag System and the Air Bag System deploys, as evidenced by a
        police accident report.
     Air Bag System means an automatically inflatable passive restraint system that is designed to
     provide automatic crash protection in front or side impact Automobile accidents and meets the
     Federal Vehicle Safety Standards of the National Highway Traffic Safety Administration.
     Automobile means a motor vehicle licensed for use on public highways.
  Career Adjustment Benefit
     The amount of the Career Adjustment Benefit is shown in the Coverage Features.
     We will pay a Career Adjustment Benefit to your Spouse if all of the following requirements are
     met:
      1. You are insured for AD&D Insurance under the Group Policy.
     2. You die as a result of an accident for which an AD&D Insurance Benefit is payable for Loss
        of your life.
     3. Your Spouse is, within 36 months after the date of your death, registered and in attendance
        at an accredited institution of higher education or trades training program for the purpose
        of obtaining employment or increasing earnings.
     No Career Adjustment Benefit will be paid if you have no surviving Spouse.
  Child Care Benefit
     The amount of the Child Care Benefit is shown in the Coverage Features.
     We will pay a Child Care Benefit to your Spouse if all of the following requirements are met:
      1. You are insured for AD&D Insurance under the Group Policy.
     2. You die as a result of an accident for which an AD&D Insurance Benefit is payable for Loss
        of your life.
     3. Your Spouse pays a licensed child care provider who is not a member of your family for
        child care provided to your Child(ren) under age 13 within 36 months of your death.
     4. The child care is necessary in order for your Spouse to work or to obtain training for work
        or to increase earnings.
     No Child Care Benefit will be paid if you have no surviving Spouse.
  Higher Education Benefit
     The amount of the Higher Education Benefit is shown in the Coverage Features.
     We will pay a Higher Education Benefit to your Child if all of the following requirements are
     met:
      1. You are insured for AD&D Insurance under the Group Policy.
     2. You die as a result of an accident for which an AD&D Insurance Benefit is payable for Loss
        of your life.
     3. Your Child is, within 12 months after the date of your death, registered and in full-time
        attendance at an accredited institution of higher education beyond high school.


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     The Higher Education Benefit will be paid to each Child who meets the requirements of item 3
     above, for a maximum of 4 consecutive years beginning on the date of your death. No Higher
     Education Benefit will be paid if there is no Child eligible to receive it.
  Occupational Assault Benefit
     The amount of the Occupational Assault Benefit is shown in the Coverage Features.
     We will pay an Occupational Assault Benefit if all of the following requirements are met:
      1. While Actively At Work you suffer a Loss for which an AD&D Insurance Benefit is payable.
     2. The Loss is the result of an act of physical violence against you that is punishable by law
        and is evidenced by a police report.
  Public Transportation Benefit
     The amount of the Public Transportation Benefit is shown in the Coverage Features.
     We will pay a Public Transportation Benefit if all of the following requirements are met:
      1. You or your Dependent die as a result of an accident for which an AD&D Insurance Benefit
         is payable for Loss of your life.
     2. The accident occurs while you are riding as a fare-paying passenger on Public
        Transportation.
     Public Transportation means a public passenger conveyance operated by a licensed common
     carrier for the transportation of the general public for a fare and operating on regular
     passenger routes with a definite schedule of departures and arrivals.
  Occupational Disease Benefit
     The amount of the Occupational Disease Benefit is shown in the Coverage Features.
     We will pay an Occupational Disease Benefit if all of the following requirements are met:
      1. You are insured under the Group Policy.
     2. You first test positive for a Qualified Medical Condition as a result of an Occupational
        Accident which occurs while you are insured under the Group Policy.
     The Occupational Disease Benefit will be paid in a lump sum.
     Qualified Medical Condition means you are infected with:
      1. Human Immunodeficiency Virus (HIV);
     2. Hepatitis C Virus.
     Infection with a Qualified Medical Condition must be proven by the ELISA-ELISA-WESTERN
     BLOT test protocol or any other test licensed by the United States Food and Drug
     Administration and administered by standards established by the United States Centers for
     Disease Control. Any diagnostic test for a Qualified Medical Condition must not be self
     administered.
     Occupational Accident means an accident which arises out of or in the course of your
     employment with the Employer for which all of the following requirements are met:
      1. You submit a worker's compensation injury report to your Employer within 48 hours of the
         accident.
     2. You submit an initial negative blood test for HIV and Hepatitis C to your Employer within
        48 hours of the accident.
     3. You test positive for the Qualified Medical Condition within 365 days of the accident.


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G.   Becoming Insured For AD&D Insurance
     1. Eligibility
        You become eligible for AD&D Insurance on the date your Life Insurance is effective.
        You become eligible to insure your Dependents for AD&D Insurance on the date your Life
        Insurance is effective.
        A Member may not be insured as both a Member and a Dependent.                   A Child may not be
        insured by more than one Member.
     2. Effective Date
        The Coverage Features states whether AD&D Insurance is Contributory or Noncontributory.
        Subject to the Active Work Provisions, AD&D Insurance becomes effective as follows:
        a.   Noncontributory AD&D Insurance
             Noncontributory AD&D Insurance becomes effective on the date you become eligible.
        b. Contributory AD&D Insurance
             You must apply in writing for Contributory AD&D Insurance and agree to pay premiums.
             Contributory AD&D Insurance becomes effective on the later of:
             (i) The date you become eligible if you apply on or before that date.
             (ii) The first day of the calendar month coinciding with or next following the date you apply,
                  if you apply after you become eligible.
        c. While AD&D Insurance for your Dependents is in effect, each new Dependent becomes
           insured immediately.
H. When AD&D Insurance Ends
     AD&D Insurance for you and your Dependents ends automatically on the earlier of:
     1. The date your Life Insurance ends.
     2. The date your Waiver Of Premium begins.
     3. The date AD&D Insurance terminates under the Group Policy.
     4. The date the last period ends for which a premium was paid for your AD&D Insurance.
     5. The date your Life Insurance is continued under item 4.b., When Life Insurance Ends.
     6. For your Spouse, the date of your divorce;
     7. For any Dependent, the date the Dependent ceases to be a Dependent; and
     8. For a Child who is Disabled, 90 days after we mail you a request for proof of Disability, if proof
        is not given.
                           (FB NO DEP REQD_FULL XP BEN PKG_ALCOHL EXCL_AIRCRFT EXCL_SEAT AIR COMBO)   LI.AD.OT.SX


                                   ACTIVE WORK PROVISIONS
If you are incapable of Active Work because of Sickness, Injury or Pregnancy on the day before the
scheduled effective date of your insurance or an increase in your insurance, your insurance or
increase will not become effective until the day after you complete one full day of Active Work as an
eligible Member.
Active Work and Actively At Work mean performing the material duties of your own occupation at your
Employer's usual place of business. You will also meet the Active Work requirement if:


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1. You were absent from Active Work because of a regularly scheduled day off, holiday, or vacation
   day;
2. You were Actively At Work on your last scheduled work day before the date of your absence; and
3. You were capable of Active Work on the day before the scheduled effective date of your insurance
   or increase in your insurance.
                                                                                               LI.AW.OT.1


                                 CONTINUITY OF COVERAGE
A. Waiver Of Active Work Requirement
   If you were insured under the Prior Plan on the day before the effective date of your Employer's
   coverage under the Group Policy, you can become insured on the effective date of your Employer's
   coverage without meeting the Active Work requirement. See Active Work Provisions.
B. Payment Of Benefit
   The benefits payable before you meet the Active Work requirement will be:
       1. The benefits which would have been payable under the terms of the Prior Plan if it had
          remained in force; reduced by
       2. Any benefits payable under the Prior Plan.
                                                                                               LI.CC.GA.1


                                PORTABILITY OF INSURANCE
A. Portability Of Insurance
   You may continue your Insurance if your employment with your Employer terminates, subject to
   the following:
   1. The amount of any Insurance to be continued must have been continuously in effect for at least
      12 consecutive months on the date your employment terminates. In computing the 12
      consecutive month period, we will include time insured under the Prior Plan.
   2. On the date your employment terminates, you are under age 70.
   3. You must be able to perform with reasonable continuity the material duties of at least one gainful
      occupation for which you are reasonably fitted by education, training and experience on the date
      your employment terminates.
   If you do not continue your Life Insurance, you may not continue any other Insurance. Insurance
   continued under Waiver Of Premium may not be continued under this provision.
   Insurance means your Life Insurance and if you continue your Life Insurance, includes the other
   insurance eligible for portability under the provision as shown in the Coverage Features.
B. Application And Premium Payment
   To continue Insurance under this provision you must apply in writing and pay the first Portability
   Premium to us within 45 days after the date your employment terminates. The Portability Premium
   Rate is shown in the Coverage Features.
C. Amount Of Insurance
   The minimum and maximum amounts of Insurance eligible for portability are shown in the
   Coverage Features.
   The amount of Insurance you continue under this provision cannot be increased.


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   The amount of your Insurance will be reduced or terminated according to the terms of the Group
   Policy in effect on the date your employment terminates.
D. When Insurance Ends
   Insurance continued under this provision ends automatically on the earlier of:
   1. The date it would otherwise end under the Group Policy.
   2. The date you become insured under any other group life insurance plan.
E. Group Policy Provisions
   Except as provided above, Insurance continued under this provision is subject to all other terms of
   the Group Policy. With respect to any notice you are required to provide to the Policyholder or your
   Employer under other provisions of the Group Policy, such notice must be provided to us while your
   Insurance is continued.
                                                                                                LI.PT.OlX


                                     WAIVER OF PREMIUM
A. Waiver Of Premium Benefit
   Insurance will be continued without payment of premiums while you are Totally Disabled if:
   1. You become Totally Disabled while insured under the Group Policy and under age 60; and
   2. You give us satisfactory Proof Of Loss.
   We may have you examined at our expense at reasonable intervals. Any such examination will be
   conducted by specialists of our choice.
B. Definitions For Waiver Of Premium
   1. Insurance means all your insurance under the Group Policy, except AD&D Insurance.
   2. Totally Disabled means that, as a result of Sickness, accidental Injury, or Pregnancy, you are
      unable to perform with reasonable continuity the material duties of any gainful occupation for
      which you are reasonably fitted by education, training and experience.
C. Premium Payment
   Premium payment must continue until the date we approve your claim for Waiver Of Premium.
D. Refund Of Premiums
   We will refund up to 12 months of the premiums that were paid for Insurance after the date you
   become Totally Disabled.
E. Amount Of Insurance
   The amount of Insurance eligible for Waiver Of Premium is the amount in effect on the day before
   you become Totally Disabled. However, the following will apply:
   1. Insurance will be reduced or terminated according to the Group Policy provisions in effect on
      the day before you become Totally Disabled.
   2. If you become insured under a group life insurance plan that replaces the Group Policy while
      you are eligible for Waiver Of Premium, any death benefit payable under the Group Policy will
      be reduced by the amount payable under the replacement group life insurance plan.
   3. If you receive an Accelerated Benefit, Insurance will be reduced according to the Accelerated
      Benefit provision.



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F. Termination Or Amendment Of The Group Policy
   Insurance will not be affected by termination or amendment of the Group Policy after you become
   Totally Disabled.
G. When Waiver Of Premium Ends
   Waiver Of Premium ends on the earliest of:
   1. The date you cease to be Totally Disabled;
   2. 90 days after the date we mail you a request for additional Proof Of Loss, if it is not given;
   3. The date you fail to attend an examination or cooperate with the examiner;
   4. With respect to the amount of Insurance which an insured has converted, the effective date of
      the individual life insurance policy issued to the insured; and
   5. The date you reach age 70.
                                                                              (ELIO 60_TERMS 70)   LI.WP.OT.2X


                                    ACCELERATED BENEFIT
A. Accelerated Benefit
   If you give us satisfactory proof of having a Qualifying Medical Condition while you are insured
   under the Group Policy, you may have the right to receive during your lifetime a portion of your
   Insurance as an Accelerated Benefit. You must have at least $10,000 of Insurance in effect to be
   eligible.
   If your Insurance is scheduled to end within 24 months following the date you apply for the
   Accelerated Benefit, you will not be eligible for the Accelerated Benefit. This restriction does not
   apply if you are on a medical leave of absence.
   Qualifying Medical Condition means you are terminally ill as a result of an illness or physical
   condition which is reasonably expected to result in death within 12 months.
   We may have you examined at our expense in connection with your claim for an Accelerated
   Benefit. Any such examination will be conducted by one or more Physicians of our choice.
B. Application For Accelerated Benefit
   You must apply for an Accelerated Benefit. To apply you must give us satisfactory Proof Of Loss
   on our forms. Proof Of Loss must include a statement from a Physician that you have a Qualifying
   Medical Condition.
C. Amount Of Accelerated Benefit
   You may receive an Accelerated Benefit of up to 75% of your Insurance. The maximum
   Accelerated Benefit is $500,000. The minimum Accelerated Benefit is $5,000 or 10% of your
   Insurance, whichever is greater.
   If the amount of your Insurance is scheduled to reduce within 24 months following the date you
   apply for the Accelerated Benefit, your Accelerated Benefit will be based on the reduced amount.
   The Accelerated Benefit will be paid to you once in your lifetime in a lump sum. If you recover
   from your Qualifying Medical Condition after receiving an Accelerated Benefit, we will not ask you
   for a refund.
D. Effect On Insurance And Other Benefits




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   For any purpose other than premium payment, the amount of your Insurance after payment of the
   Accelerated Benefit will be the greater of the amounts in (1) and (2) below; however, if you assign
   your rights under the Group Policy, the amount of your Insurance will be the amount in (2) below.
   (1) 10% of the amount of your Insurance as ifno Accelerated Benefit had been paid; or
   (2) The amount of your Insurance as if no Accelerated Benefit had been paid; minus
       The amount of the Accelerated Benefit; minus
       An interest charge calculated as follows:
       A times B times C divided by 365 = interest charge.
       A = The amount of the Accelerated Benefit.
       B = The monthly average of our variable policy loan interest rate.
       C = The number of days from payment of the Accelerated Benefit to the earlier of (1) the date
           you die, and (2) the date you have a Right To Convert.
   The amount of your AD&D Insurance, if any, is not affected by payment of the Accelerated Benefit.
   AD&D is not continued under Waiver Of Premium.
   Note: If you assign your rights under the Group Policy, the amount of your Insurance after
   payment of the Accelerated Benefit will be the amount in (2) above.
E. Exclusions
   No Accelerated Benefit will be paid if:
   1. All or part of your Insurance must be paid to your Child(ren), or your Spouse or former Spouse
      as part of a court approved divorce decree, separate maintenance agreement, or property
      settlement agreement.
   2. You are married and live in a community property state unless you give us a signed written
      consent from your Spouse.
   3. You have made an assignment of all or part of your Insurance unless you give us a signed
      written consent from the assignee.
   4. You have filed for bankruptcy, unless you give us written approval from the Bankruptcy Court
      for payment of the Accelerated Benefit.
   5. You are required by a government agency to use the Accelerated Benefit to apply for, receive, or
      continue a government benefit or entitlement.
   6. You have previously received an Accelerated Benefit under the Group Policy.
F. Definitions For Accelerated Benefit
   Insurance means your Life Insurance Benefit under the Group Policy.
                                                                                             LI.AB.OT.SX


                                       RIGHT TO CONVERT
A. Right To Convert
   You may buy an individual policy of life insurance without Evidence Of Insurability if:
   1. Your Insurance ends or is reduced due to a Qualifying Event; and
   2. You apply in writing and pay us the first premium during the Conversion Period.




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   Except as limited under C. Limits On Right To Convert, the maximum amount you have a Right To
   Convert is the amount of your Insurance which ended.
B. Definitions For Right To Convert
   1. Conversion Period means the 45-day period after the date of any Qualifying Event.
   2. Insurance means all your insurance under the Group Policy, including insurance continued
      under Waiver Of Premium, but excluding AD&D Insurance.
   3. Qualifying Event means termination or reduction of your Insurance for any reason except:
       a. The Member's failure to make a required premium contribution.
       b. Payment of an Accelerated Benefit.
   4. You and your mean any person insured under the Group Policy.
C. Limits On Right To Convert
   If your Insurance ends or is reduced because of termination or amendment of the Group Policy, 1
   and 2 below will apply.
   1. You may not convert Insurance which has been in effect for less than the Minimum Time
      Insured. See Coverage Features.
   2. The maximum amount you have a Right To Convert is the lesser of:
       a. The amount of your Insurance which ended, minus any other group life insurance for
          which you become eligible during the Conversion Period; and
       b. The Maximum Conversion Amount. See Coverage Features.
D. The Individual Policy
   You may select any form of individual life insurance policy we issue to persons of your age, except:
   1. A term insurance policy;
   2. A universal life policy;
   3. A policy with disability, accidental death, or other additional benefits; or
   4. A policy in an amount less than the minimum amount we issue for the form of life insurance
      you select.
   The individual policy of life insurance will become effective on the day after the end of the
   Conversion Period. We will use our published rates for standard risks to determine the premium.
E. Death During The Conversion Period
   If you die during the Conversion Period, we will pay a death benefit equal to the maximum amount
   you had a Right To Convert, whether or not you applied for an individual policy. The benefit will
   be paid according to the Benefit Payment And Beneficiary Provisions.
                                                                                              LI.RC.OT.lX


                                               CLAIMS
A. Filing A Claim
   Claims should be filed on our forms. If we do not provide our forms within 10 working days after
   they are requested, the claim may be submitted in a letter to us.
B. Time Limits On Filing Proof Of Loss



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   Proof Of Loss must be provided within 90 days after the date of the loss. If that is not possible, it
   must be provided as soon as reasonably possible, but not later than one year after that 90-day
   period. With respect to coma, we will require Proof Of Loss of the comatose condition at
   reasonable intervals. If proof is not given within 31 days, benefits payable for coma will end.
   Proof Of Loss for Waiver Of Premium must be provided within 12 months after the end of the
   Waiting Period. We will require further Proof Of Loss at reasonable intervals, but not more often
   than once a year after you have been continuously Totally Disabled for two years.
   If Proof Of Loss is filed outside these time limits, the claim will be denied. These limits will not
   apply while the Member or Beneficiary lacks legal capacity.
C. Proof Of Loss
   Proof Of Loss means written proof that a loss occurred:
   1. For which the Group Policy provides benefits;
   2. Which is not subject to any exclusions; and
   3. Which meets all other conditions for benefits.
   Proof Of Loss includes any other information we may reasonably require in support of a claim.
   Proof Of Loss must be in writing and must be provided at the expense of the claimant. No benefits
   will be provided until we receive Proof Of Loss satisfactory to us.
D. Investigation Of Claim
   We may have you examined at our expense at reasonable intervals. Any such examination will be
   conducted by specialists of our choice.
   We may have an autopsy performed at our expense, except where prohibited by law.
E. Time Of Payment
   We will pay benefits within 60 days after Proof Of Loss is satisfied.
F. Notice Of Decision On Claim
   We will evaluate a claim for benefits promptly after we receive it. With respect to all claims except
   Waiver Of Premium claims (or other benefits based on disability), within 90 days after we receive
   the claim we will send the claimant: (a) a written decision on the claim; or (b) a notice that we are
   extending the period to decide the claim for an additional 90 days.
   With respect to Waiver Of Premium claims (or other benefits based on disability), within 45 days
   after we receive the claim we will send the claimant: (a) a written decision on the claim; or (b) a
   notice that we are extending the period to decide the claim for 30 days. Before the end of this
   extension period we will send the claimant: (a) a written decision on the Waiver Of Premium claim
   (or other benefits based on disability); or (b) a notice that we are extending the period to decide the
   claim for an additional 30 days. If an extension is due to the claimant's failure to provide
   information necessary to decide the Waiver Of Premium claim (or other benefits based on
   disability), the extended time period for deciding the claim will not begin until the claimant
   provides the information or otherwise responds.
   If we extend the period to decide the claim, we will notify the claimant of the following: (a) the
   reasons for the extension; (b) when we expect to decide the claim; (c) an explanation of the
   standards on which entitlement to benefits is based; (d) the unresolved issues preventing a
   decision; and (e) any additional information we need to resolve those issues.
   If we request additional information, the claimant will have 45 days to provide the information. If
   the claimant does not provide the requested information within 45 days, we may decide the claim
   based on the information we have received.



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   If we deny any part of the claim, we will send the claimant a written notice of denial containing:
   1. The reasons for our decision.
   2. Reference to the parts of the Group Policy on which our decision is based.
   3. Reference to any internal rule or guideline relied upon in deciding a Waiver Of Premium claim
      (or other benefits based on disability).
   4. A description of any additional information needed to support the claim.
   5. Information concerning the claimant's right to a review of our decision.
   6. Information concerning the right to bring a civil action for benefits under section 502(a) of
      ERISA if the claim is denied on review.
G. Review Procedure
   If all or part of a claim is denied, the claimant may request a review. The claimant must request a
   review in writing:
   1. Within 180 days after receiving notice of the denial of a claim for Waiver Of Premium (or other
      benefits based on disability);
   2. Within 60 days after receiving notice of the denial of any other claim.
   The claimant may send us written comments or other items to support the claim. The claimant
   may review and receive copies of any non-privileged information that is relevant to the request for
   review. There will be no charge for such copies. Our review will include any written comments or
   other items the claimant submits to support the claim.
   We will review the claim promptly after we receive the request. With respect to all claims except
   Waiver Of Premium claims (or other benefits based on disability), within 60 days after we receive
   the request for review we will send the claimant: (a) a written decision on review; or (b) a notice
   that we are extending the review period for 60 days.
   With respect to Waiver Of Premium claims (or other benefits based on disability), within 45 days
   after we receive the request for review we will send the claimant: (a) a written decision on review; or
   (b) a notice that we are extending the review period for 45 days.
   If an extension is due to the claimant's failure to provide information necessary to decide the claim
   on review, the extended time period for review of the claim will not begin until the claimant
   provides the information or otherwise responds.
   If we extend the review period, we will notify the claimant of the following: (a) the reasons for the
   extension; (b) when we expect to decide the claim on review; and (c) any additional information we
   need to decide the claim.
   If we request additional information, the claimant will have 45 days to provide the information. If
   the claimant does not provide the requested information within 45 days, we may conclude our
   review of the claim based on the information we have received.
   With respect to Waiver Of Premium claims (or other benefits based on disability), the person
   conducting the review will be someone other than the person who denied the claim and will not be
   subordinate to that person. The person conducting the review will not give deference to the initial
   denial decision. If the denial was based on a medical judgement, the person conducting the review
   will consult with a qualified health care professional. This health care professional will be someone
   other than the person who made the original medical judgement and will not be subordinate to
   that person. The claimant may request the names of medical or vocational experts who provided
   advice to us about a claim for Waiver Of Premium (or other benefits based on disability).
   If we deny any part of the claim on review, the claimant will receive a written notice of denial
   containing:


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   1. The reasons for our decision.
   2. Reference to the parts of the Group Policy on which our decision is based.
   3. Reference to any internal rule or guideline relied upon in deciding a Waiver Of Premium claim
      (or other benefits based on disability).
   4. Information concerning the claimant's right to receive, free of charge, copies of non-privileged
      documents and records relevant to the claim.
   5. Information concerning the right to bring a civil action for benefits under section 502(a) of
      ERISA.
   The Group Policy does not provide voluntary alternative dispute resolution options. However, you
   may contact your local U.S. Department of Labor Office and your State insurance regulatory
   agency for assistance.
                                                             (2ND REV PRIV WRDG_NEW WOP WRDG)    LI.CL.GA.5X


                                          ASSIGNMENT
If the amount of your Life Insurance is less than $25,000, you may not make an assignment.
If the amount of your Life Insurance is $25,000 or more, you may make an absolute assignment of all
your Life and AD&D Insurance, subject to 1 through 8 below.
1. All insurance under the Group Policy, including AD&D Insurance, is assignable. Dependents Life
   Insurance is not assignable.
2. You may not make a collateral assignment.
3. The assignment must be absolute and irrevocable. It must transfer all rights, including:
   a. The right to change the Beneficiary;
   b. The right to buy an individual life insurance policy on your life under Right To Convert; and
   c. The right to receive accidental dismemberment benefits.
   d. The right to apply for and receive an Accelerated Benefit.
4. The assignment will apply to all of your Life and AD&D Insurance in effect on the date of the
   assignment or becoming effective after that date.
5. The assignment may be to any person permitted by law.
6. The assignment will have no effect unless it is: made in writing, signed by you, and delivered to
   the Policyholder or Employer in your lifetime. Neither we, the Policyholder, nor the Employer are
   responsible for the validity, sufficiency or effect of the assignment.
7. All accidental dismemberment benefits will be paid to the assignee. All death benefits will be paid
   according to the beneficiary designation on file with the Policyholder or Employer, and the Benefit
   Payment And Beneficiary Provisions.
8. The assignment will not change the Beneficiary, unless the assignee later changes the Beneficiary.
   Any payment we make according to the beneficiary designation on file with the Policyholder or
   Employer, and the Benefit Payment And Beneficiary Provisions will fully discharge us to the
   extent of the payment.
You may not make an assignment which is contrary to the rules in 1 through 8 above.
                                                                                     (ALLOWED)    LI.AS.OT.2




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                  BENEFIT PAYMENT AND BENEFICIARY PROVISIONS
A. Payment Of Benefits
   1. Except as provided in item 5 below, benefits payable because of your death or coma will be
      paid to the Beneficiary you name. Benefits for coma will cease after the comatose condition
      has ceased, whether by death, recovery, or any other change of condition. See B through E of
      this section.
   2. AD&D Insurance benefits payable for Losses other than Loss of Life or coma will be paid to the
      person who suffers the Loss for which benefits are payable. Any such benefits remaining
      unpaid at that person's death will be paid according to the provisions for payment of a death
      benefit.
   3. The benefits below will be paid to you if you are living.
      a. AD&D Insurance benefits payable because of the death or coma of your Dependent.
      b. Dependents Life Insurance benefits.
      c.   Accelerated Benefits.
   4. Dependents Life Insurance benefits and AD&D Insurance benefits payable because of the death
      of your Dependent which are unpaid at your death will be paid in equal shares to the first
      surviving class of the classes below.
      a. The children of the Dependent.
      b. The parents of the Dependent.
      c.   The brothers and sisters of the Dependent.
      d. Your estate.
   5. Additional Benefits will be paid as follows:
      The Child Care Benefit will be paid to your surviving Spouse. No Child Care Benefit will be paid
      if you have no Spouse.
      The Career Adjustment Benefit will be paid to your Spouse. No Career Adjustment Benefit will
      be paid if you have no Spouse.
      The Higher Education Benefit will be paid to each eligible Child. No Higher Education Benefit
      will be paid if there is no Child eligible to receive it.
      The Repatriation Benefit will be paid to the person who incurs the transportation expenses.
B. Naming A Beneficiary
   Beneficiary means a person you name to receive death benefits.       You may name one or more
   Beneficiaries.
   If you name two or more Beneficiaries in a class:
   1. Two or more surviving Beneficiaries will share equally, unless you provide for unequal shares.
   2. If you provide for unequal shares in a class, and two or more Beneficiaries in that class
      survive, we will pay each surviving Beneficiary his or her designated share. Unless you provide
      otherwise, we will then pay the share(s) otherwise due to any deceased Beneficiary(ies) to the
      surviving Beneficiaries pro rata based on the relationship that the designated percentage or
      fractional share of each surviving Beneficiary bears to the total shares of all surviving
      Beneficiaries.
   3. If only one Beneficiary in a class survives, we will pay the total death benefits to that
      Beneficiary.


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   You may name or change Beneficiaries at any time without the consent of a Beneficiary.
   Your Beneficiary designations for your Plan 1 Life Insurance, Plan 1 AD&D Insurance, Plan 2 Life
   Insurance and Plan 2 AD&D Insurance may be different.
   If you do not name a Beneficiary for each of your Plan 1 Life Insurance, Plan 1 AD&D Insurance,
   Plan 2 Life Insurance, and Plan 2 AD&D Insurance, death benefits payable due to your death for
   that Plan will be paid in accordance with D. No Surviving Beneficiary, below. Two or more named
   surviving Beneficiaries will share equally, unless specified otherwise.
   Any payment we make according to the Beneficiary designation on file with the Policyholder or
   Employer will fully discharge us to the extent of the payment for each line of coverage and each
   death benefit which has been paid.
   You must name or change Beneficiary in writing. Writing includes a form signed by you or a
   verification from the Policyholder or Employer of an electronic or telephonic designation made by
   you.
   Your designation:
   1. Must be dated;
   2. Must be delivered to the Policyholder or Employer during your lifetime;
   3. Must relate to the insurance provided under the Group Policy; and
   4. Will take effect on the date it is delivered to the Policyholder or Employer.
   If we approve it, a designation, which meets the requirements of a Prior Plan will be accepted as
   your Beneficiary designation under the Group Policy.
C. Simultaneous Death Provision
   If a Beneficiary or a person in one of the classes listed in item D. No Surviving Beneficiary dies on
   the same day you die, or within 15 days thereafter, benefits will be paid as if that Beneficiary or
   person had died before you, unless Proof Of Loss with respect to your death is delivered to us
   before the date of the Beneficiary's death.
D. No Surviving Beneficiary
   If you do not name a Beneficiary, or if you are not survived by one, benefits will be paid in equal
   shares to the first surviving class of the classes below.
   1. Your Spouse. (See Definitions)
   2. Your children.
   3. Your parents.
   4. Your brothers and sisters.
   5. Your estate.
E. Methods Of Payment
   Recipient means a person who is entitled to benefits under this Benefit Payment and Beneficiary
   Provisions section.
   1. Lump Sum
      If the amount payable to a Recipient is less than $25,000, we will pay it in a lump sum.




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   2. Standard Secure Access Checking Account
       If the amount payable to a Recipient is $25,000, or more, we will deposit it into a Standard
       Secure Access checking account which:
       a. Bears interest at a rate equal to the 13-week Treasury Bill (T-Bill) auction rate, but not to
          exceed 5%;
       b. Is owned by the Recipient;
       c.   Is subject to the terms and conditions of a confirmation certificate which will be given to the
            Recipient; and
       d. Is fully guaranteed by us.
   3. Installments
       Payment to a Recipient may be made in installments if:
       a. The amount payable is $25,000 or more;
       b. The Recipient chooses; and
       c. We agree.
   To the extent permitted by law, the amount payable to the Recipient will not be subject to any legal
   process or to the claims of any creditor or creditor's representative.
                         (FB_REPAT_ELECT/TEL DESIG_WITH DEF SP_25K SSA LUMP INSTALL_SPOUSE DEF TERM)   LI.BB.OT.6X


                                   ALLOCATION OF AUTHORITY
Except for those functions which the Group Policy specifically reserves to the Policyholder, we have full
and exclusive authority to control and manage the Group Policy, to administer claims, and to interpret
the Group Policy and resolve all questions arising in the administration, interpretation, and
application of the Group Policy.
Our authority includes, but is not limited to:
    1. The right to resolve all matters when a review has been requested;
   2. The right to establish and enforce rules and procedures for the administration of the Group
      Policy and any claim under it;
   3. The right to determine:
       a.   Eligibility for insurance;
       b. Entitlement to benefits;
       c.   Amount of benefits payable;
       d. Sufficiency and the amount of information we may reasonably require to determine a., b.,
          or c., above.
Subject to the review procedures of the Group Policy any decision we make in the exercise of our
authority is conclusive and binding.
                                                                                                        LI.AL.OT.1




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                              TIME LIMITS ON LEGAL ACTIONS
No action at law or in equity may be brought until 60 days after we have been given Proof Of Loss. No
such action may be brought more than three years after the earlier of:
   1. The date we receive Proof Of Loss; and
   2. The time within which Proof Of Loss is required to be given.
                                                                                                 LI.TL.OT.1


                              INCONTESTABILITY PROVISIONS
A. Incontestability Of Insurance
   Any statement made to obtain or to increase insurance is a representation and not a warranty.
   No misrepresentation will be used to reduce or deny a claim unless:
   1. The insurance would not have been approved if we had known the truth; and
   2. We have given you or any other person claiming benefits a copy of the signed written
      instrument which contains the misrepresentation.
   We will not use a misrepresentation to reduce or deny a claim after the insured's insurance has
   been in effect for two years during the lifetime of the insured.
B. Incontestability Of Group Policy
   Any statement made by the Policyholder or Employer to obtain the Group Policy is a representation
   and not a warranty.
   No misrepresentation by the Policyholder or Employer will be used to deny a claim or to deny the
   validity of the Group Policy unless:
   1. The Group Policy would not have been issued if we had known the truth; and
   2. We have given the Policyholder or Employer a copy of a written instrument signed by the
      Policyholder or Employer which contains the misrepresentation.
   The validity of the Group Policy will not be contested after it has been in force for two years, except
   for nonpayment of premiums.
                                                                                                  LI.IN.OT.2


                         CLERICAL ERROR AND MISSTATEMENT
A. Clerical Error
   Clerical error by the Policyholder, your Employer, or their respective employees or representatives
   will not:
   1. Cause a person to become insured;
   2. Invalidate insurance under the Group Policy otherwise validly in force; or
   3. Continue insurance under the Group Policy otherwise validly terminated.
B. The Policyholder and your Employer act on their own behalf as your agent, and not as our agent.
C. Misstatement Of Age
   If a person's age has been misstated, we will make an equitable adjustment of premiums, benefits,
   or both. The adjustment will be based on:



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   1. The amount of insurance based on the correct age; and
   2. The difference between the premiums paid and the premiums which would have been paid if
      the age had been correctly stated.
                                                                                                LI.CE.OT.2


               TERMINATION OR AMENDMENT OF THE GROUP POLICY
The Group Policy may be terminated by us or the Policyholder according to its terms. It will terminate
automatically for nonpayment of premium. The Policyholder may terminate the Group Policy in whole,
and may terminate insurance for any class or group of Members, at any time by giving us written
notice.
Benefits under the Group Policy are limited to its terms, including any valid amendment. No change
or amendment will be valid unless it is approved in writing by one of our executive officers and given to
the Policyholder for attachment to the Group Policy. If the terms of the Certificate differ from the
Group Policy, the terms stated in the Group Policy will govern. The Policyholder, your Employer, and
their respective employees or representatives have no right or authority to change or amend the Group
Policy or to waive any of its terms or provisions without our signed written approval.
We may change the Group Policy in whole or in part when any change or clarification in law or
governmental regulation affects our obligations under the Group Policy, or with the Policyholder's
consent.
Any such change or amendment of the Group Policy may apply to current or future Members or to any
separate classes or groups thereof.
                                                                                                LI.TA.OT.1


                                           DEFINITIONS
AD&D Insurance means accidental death and dismemberment insurance, if any, under the Group
Policy.
Annual Earnings means your annual rate of earnings from your Employer. Your Annual Earnings will
be based on your earnings in effect on your last full day of Active Work unless a different date applies
(see the Coverage Features). Annual Earnings includes:
   1. Contributions you make through a salary reduction agreement with your Employer to:
       a. An Internal Revenue Code (IRC) Section 401(k), 403(b), 408(k), or 457 deferred
          compensation arrangement; or
       b. An executive nonqualified deferred compensation arrangement.
   2. Shift differential pay.
   3. Amounts contributed to your fringe benefits according to a salary reduction agreement under
      an IRC Section 125 plan.
Annual Earnings does not include:
   1. Bonuses.
   2. Commissions.
   3. Overtime pay.
   4. Stock options or stock bonuses.
   5. Your Employer's contributions on your behalf to any deferred compensation arrangement or
      pension plan.


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   6. Any other extra compensation.
Annual Enrollment Period means the period designated each year by your Employer when you may
change insurance elections.
Child means:
   1. Your unmarried child from live birth to age 26; or
   2. Your unmarried child who meets either of the following requirements:
       a. The child is insured under the Group Policy and, on and after the date on which insurance
          would otherwise end because of the Child's age, is continuously Disabled.
       b. The child was insured under the Prior Plan on the day before the effective date of your
          Employer's coverage under the Group Policy and was Disabled on that day, and is
          continuously Disabled thereafter.
   Child includes any of the following, if they otherwise meet the definition of Child:
       i.   Your adopted child; or
       ii. Your stepchild and the child of your spouse, if living in your home;
   Your child is Disabled if your child is:
       1. Continuously incapable of self-sustaining employment because of mental retardation or
          physical handicap; and
       2. Chiefly dependent upon you for support and maintenance, or institutionalized because of
          mental retardation or physical handicap.
   You must give us proof your Child is Disabled on our forms within 31 days after a) the date on
   which insurance would otherwise end because of the Child's age or b) the effective date of your
   Employer's coverage under the Group Policy if your child is Disabled on that date. At reasonable
   intervals thereafter, we may require further proof, and have your Child examined at our expense.
Contributory means you pay all or part of the premium for insurance.
Dependents Life Insurance means dependents life insurance, if any, under the Group Policy.
Eligibility Waiting Period means the period you must be a Member before you become eligible for
insurance. See Coverage Features.
Evidence Of Insurability means an applicant must:
   1. Complete and sign our medical history statement;
   2. Sign our form authorizing us to obtain information about the applicant's health;
   3. Undergo a physical examination, if required by us, which may include blood testing; and
   4. Provide any additional information about the applicant's insurability that we may reasonably
      require.
Group Policy means the group life insurance policy issued by us to the Policyholder and identified by
the Group Policy Number.
Injury means an injury to your body.
Life Insurance means life insurance under the Group Policy.
Noncontributory means the Policyholder or Employer pays the entire premium for insurance.
Physician means a licensed M.D. or D.O., acting within the scope of the license. Physician does not
include you or your Spouse, or the brother, sister, parent or child of either you or your Spouse.


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Pregnancy means your pregnancy, childbirth, or related medical conditions, including complications of
pregnancy.
Prior Plan means:
   a) your Employer's group life insurance plan in effect on the day before the effective date of your
      Employer's coverage under the Group Policy and which is replaced by the Group Policy; or
   b) our group life insurance policy 647271-A or our group life insurance policy 647271-B, if you
      were insured under one of these group life insurance policies issued by us on the day before
      you became a Member.
Sickness means your sickness, illness, or disease.
Spouse means:
   Effective prior to January 1, 2018:
   1. A person to whom you are legally married; or
   2. Your Domestic Partner. Domestic Partner means an individual of your same sex who was
      insured for Dependents Life Insurance on December 31, 2016, and with whom you have
      completed an affidavit of declaration of domestic partnership, submitted that affidavit to the
      Employer, and filed that affidavit for public record if required by law.
   For purposes of insurance under the Group Policy, Spouse does not include a person who is a full-
   time member of the armed forces of any country or a person from whom you are divorced or from
   whom you have terminated a Domestic Partner relationship.
   Effective January 1, 2018:
   Spouse means a person to whom you are legally married. For purposes of insurance under the
   Group Policy, Spouse does not include a person who is a full-time member of the armed forces of
   any country or a person from whom you are divorced.
                                                                       (REG NO COM_NO STOCK)   LI.DF.OT.SX



                                POLICYHOLDER PROVISIONS
A. Premiums
   The premium due on each Premium Due Date is the sum of the premiums for all persons then
   insured. Premium Rates are shown in the Coverage Features.
B. Contributions From Members
   The Policyholder determines the amount, if any, of each Member's contribution toward the cost of
   insurance under the Group Policy.
C. Changes In Premium Rates
   We may change any Premium Rates when:
   1. A change or clarification in law or governmental regulation affects the amount payable under
      the Group Policy. Any such change in Premium Rates will reflect only the change in our
      obligations; or
   2. Factors material to underwriting the risk we assumed under the Group Policy, including, but
      not limited to, number of persons insured, age, Annual Earnings, gender and occupational
      classification, change by 25% or more; or
   3. We and the Policyholder mutually agree to change Premium Rates.




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     Except as provided above, Premium Rates will not be changed during the Initial Rate Guarantee
     Period shown in the Coverage Features. Thereafter, except as provided above, we may change
     Premium Rates upon advance written notice to the Policyholder. The minimum advance notice is
     shown in the Coverage Features as Notice of Rate Change. Any such change in Premium Rates
     may be made effective on any Premium Due Date, but no such change will be made more than
     once in any contract year. Contract years are successive 12 month periods computed from the end
     of the Initial Rate Guarantee Period.
D. Payment Of Premiums
     All premiums are due on the Premium Due Dates shown in the Coverage Features.
     Each premium is payable on or before its Premium Due Date directly to us at our home office. The
     payment of each premium as it becomes due will maintain the Group Policy in force until the next
     Premium Due Date.
E. Grace Period And Termination For Nonpayment
     If a premium is not paid on or before its Premium Due Date, it may be paid during the following
     Grace Period. The length of the Grace Period is shown in the Coverage Features. The Group
     Policy will remain in force during the Grace Period.
     If the premium is not paid during the Grace Period, the Group Policy will terminate automatically
     at the end of the Grace Period.
     The Policyholder is liable for premium for insurance under the Group Policy during the Grace
     Period. We may charge interest at the legal rate for any premium which is not paid during the
     Grace Period, beginning with the first day after the Grace Period.
F. Termination For Other Reasons
     The Policyholder may terminate the Group Policy by giving us written notice. The effective date of
     termination will be the later of:
     1. The date stated in the notice; and
     2. The date we receive the notice.
     We may terminate the Group Policy as follows:
     1. On any Premium Due Date if the number of persons insured is less than the Minimum
        Participation shown in the Coverage Features.
     2. On any Premium Due Date if we determine that the Policyholder has failed to promptly furnish
        any necessary information requested by us, or has failed to perform any other obligations
        relating to the Group Policy.
     The minimum advance notice of such termination by us is the same as the Notice of Rate Change
     stated in the Coverage Features.
G. Premium Adjustments
     Premium adjustments involving a return of unearned premiums to the Policyholder will be limited
     to the 12 months just before the date we receive a request for premium adjustment.
H. Certificates
     We will issue certificates to the Policyholder showing the coverage under the Group Policy. The
     Policyholder will distribute a certificate to each insured Member. If the terms of the Certificate
     differ from the Group Policy, the terms stated in the Group Policy will govern.
I.   Records And Reports




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   The Policyholder or Employer will furnish on our forms all information reasonably necessary to
   administer the Group Policy. We have the right at all reasonable times to inspect the payroll and
   other records of the Policyholder or Employer which relate to insurance under the Group Policy.
J. Agency And Release
   Individuals selected by the Policyholder or by any Employer to secure coverage under the Group
   Policy or to perform their administrative function under it, represent and act on behalf of the
   person selecting them, and do not represent or act on behalf of Standard Insurance Company. The
   Policyholder, Employer and such individuals have no authority to alter, expand or extend our
   liability or to waive, modify or compromise any defense or right we may have under the Group
   Policy. The Policyholder and each Employer hereby release, hold harmless and indemnify
   Standard Insurance Company from any liability arising from or related to any negligence, error,
   omission, misrepresentation or dishonesty of any of them or their representatives, agents or
   employees.
K. Notice Of Suit
   The Policyholder or Employer shall promptly give us written notice of any lawsuit or other legal
   proceedings arising under the Group Policy.
L. Entire Contract, Changes
   The Group Policy and the application of the Policyholder constitute the entire contract between the
   parties. A copy of the Policyholder's application is attached to the Group Policy when issued.
   The Group Policy may be changed in whole or in part. No change in the Group Policy will be valid
   unless it is approved in writing by one of our executive officers and given to the Policyholder for
   attachment to the Group Policy. No agent has authority to change the Group Policy or to waive
   any of its provisions.
M. Effect On Workers' Compensation, State Disability Insurance
   The coverage provided under the Group Policy is not a substitute for coverage under a workers'
   compensation or state disability income benefit law and does not relieve the Employer of any
   obligation to provide such coverage.
                                                                                     (NO DIV)    LI.PH.GA.4

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                            GROUP POLICY AMENDMENT NO. 2
                  Attached to and made a part of Group Policy 647272-B issued to
                                Emory Healthcare as Policyholder.

Effective April 1, 2019, and subject to the Active Work Provisions, the Group Policy is amended as
follows:
1. Group Policy 647272-A is replaced by Group Policy 647272-B.
2. The Active Work Provisions will not be construed to terminate insurance for any Member who
   was insured under Group Policy 64 7272-A as of March 31, 2019.
3. For purposes of the Incontestability Provisions, Group Policy 647272-B will be deemed to be in
   effect since January 1, 2010.
Any increase in amounts of coverage for a Member who is incapable of Active Work on March 31,
2019, will be deferred until the next day after the Member completes one full day of Active Work.
                                STANDARD INSURANCE COMPANY
                                               By




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                             GROUP POLICY AMENDMENT NO. 6
                   Attached to and made a part of Group Policy 64 7272-B issued to
                                  Emory Healthcare as Policyholder.

Effective April 1, 2021, and subject to the Active Work Provisions, the Becoming Insured portion of the
Coverage Features is amended to provide the following Evidence of Insurability wording:
Evidence of Insurability:                   Required:
                                            a. For late application for Contributory insurance for a
                                               Member or Spouse.
                                            b. For reinstatements if required.
                                            c.   For Members and Spouses eligible but not insured
                                                 under the Prior Plan.
                                            d. For any Plan 2 Life Insurance Benefit in excess of the
                                               Guarantee Issue Amount of $500,000.
                                            e.   For any Dependents Life Insurance Benefit for a Spouse
                                                 in excess of the Guarantee Issue Amount of$100,000.
                                            f.   For elective increases in Plan 2 Life Insurance Benefit
                                                 or Dependents Life Insurance for a Spouse.
   Certain Evidence Of Insurability requirements will be waived. Your insurance is subject to all other
   terms of the Group Policy.
       1. For a Member who was insured for additional life insurance under the Prior Plan on
          December 31, 2009:
           The Evidence Of Insurability requirement in f. above for elective increases will not apply to
           an increase up to the Guarantee Issue amount if you apply during the Annual Enrollment
           Period immediately preceding the Group Policy Effective Date. However, the Evidence Of
           Insurability requirement is not waived if you previously submitted evidence of good health
           that was not approved by the insurer(s) of the Prior Plan or any preceding plan.
       2. For a Spouse who was insured for life insurance under the Prior Plan on December 31, 2009:
           The Evidence Of Insurability requirement inf. above for elective increases will not apply to
           an increase up to the Guarantee Issue amount if the Member applies during the Annual
           Enrollment Period immediately preceding the Group Policy Effective Date. However, the
           Evidence Of Insurability requirement is not waived if the Spouse previously submitted
           evidence of good health that was not approved by the insurer(s) of the Prior Plan or any
           preceding plan.
       3. The Evidence Of Insurability requirement inf. above for elective increases will not apply to
          the following amounts for which you apply during an Annual Enrollment Period, regardless
          of whether they exceed the Guarantee Issue Amount.
           a. An increase of up to $20,000 of Plan 2 Life Insurance.
           b. An increase ofup to $10,000 of Dependents Life Insurance.
           Note: A Member on a Leave Of Absence may not apply for this elective increase in Plan 2 Life
           Insurance or Dependents Life Insurance for a Spouse (for which Evidence Of Insurability is
           waived) until the Annual Enrollment Period immediately following the Member's return to
           Active Work.


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       4. The Evidence Oflnsurability requirements ind. and e. above are waived on January 1, 2010
          for an amount in effect under the Prior Plan on December 31, 2009 .
       5. For a Member who was insured for plan 2 (additional) life insurance and dependents life
          insurance for your Spouse under group life insurance policy 647271-C or 649350-A on the
          day before becoming a Member under the Group Policy:
           Evidence Of Insurability requirements d. and e. above are waived on the date you become a
           Member for amounts of Plan 2 Life Insurance for you and Dependents Life Insurance for your
           Spouse equal to the amounts of plan 2 life insurance and dependents life insurance in effect
           on the day before you become a Member under the Group Policy, if you apply on or before
           the date you become a Member.
Evidence Of Insurability is not required for a Child.



                                   STANDARD INSURANCE COMPANY
                                                   By




                 Chairman, President and CEO
                                                                     ~  Corporate Secretary




Group Policy No. 64 7272-B                                                 Page 2 of Amendment No. 6
